                                   Case 25-10648-BLS                Doc 1       Filed 04/02/25           Page 1 of 14


Fill in this information to identify the case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this is an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kognitiv US LLC

2.   All other names debtor
     used in the last 8 years     FDBA Aimia US Inc.
     Include any assumed          FDBA Loyalty Solutions LLC
     names, trade names and       FDBA Aimia US LLC
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  121 Washington Ave. N, 4th Floor
                                  Minneapolis, MN 55401
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Hennepin                                                      Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.kognitiv.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
                                  Case 25-10648-BLS                    Doc 1        Filed 04/02/25            Page 2 of 14
Debtor    Kognitiv US LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5415

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an             Yes.
    affiliate of the debtor?




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                       Case 25-10648-BLS                      Doc 1      Filed 04/02/25             Page 3 of 14
Debtor    Kognitiv US LLC                                                                               Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Kognitiv US LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 2, 2025
                                                  MM / DD / YYYY


                             X /s/ Tim Sullivan                                                           Tim Sullivan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Signatory




18. Signature of attorney    X /s/ Patrick A. Jackson                                                      Date April 2, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Patrick A. Jackson
                                 Printed name

                                 Faegre Drinker Biddle & Reath LLP
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1410
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-467-4200                  Email address      patrick.jackson@faegredrinker.com

                                 4976 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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              ACTION BY WRITTEN CONSENT OF THE SOLE MEMBER

                                                 OF

                                     KOGNITIV US LLC

                                          April 2, 2025

        The undersigned, being the representative of Loyalty Solutions Holdings US Inc., a
Delaware corporation (the “Member”), which is the sole member of Kognitiv US LLC, a
Delaware limited liability company (the “Company”), acting by written consent without a meeting
pursuant to Sections 18-402 and 18-404 of the Delaware Limited Liability Company Act and the
Limited Liability Company Agreement of the Company, dated as of May 27, 2020, as amended
by that First Amendment to Limited Liability Company Agreement, dated as of June 4, 2020, and
as amended by that Second Amendment to Limited Liability Company Agreement, dated as of
September 16, 2021 (as amended, the “LLC Agreement”) (capitalized terms not defined herein
have the meanings assigned to them in the LLC Agreement), does hereby consent to the adoption
of the following resolutions with respect to the Company:

        WHEREAS the Company is an indirect wholly owned subsidiary of Kognitiv Corporation,
a privately held Ontario corporation (the “Parent”), which is the subject of a proceeding (the “NOI
Proceeding”) before the Superior Court of Justice in Toronto, Ontario under Canada’s Bankruptcy
and Insolvency Act, R.S.C. 1985 c. B-3, as amended;

        WHEREAS in the NOI Proceeding, the Parent carried out a sale process with the
assistance of its restructuring advisor, Roystone Capital Management LP (“Roystone Capital”),
and its proposal trustee, BDO Canada Limited (in such capacity, the “Proposal Trustee”), for the
sale of its operations and assets (the “Sale Process”);

        WHEREAS as a result of the Sale Process, the Parent reached an agreement with Capillary
Pte. Ltd., as purchaser (the “Purchaser”), on a transaction by which the Purchaser would acquire
the Parent’s operations and assets (the “Transaction”), which Transaction is supported by the
Proposal Trustee;

        WHEREAS the structure of the Transaction was originally conceived as a sale by the
Parent to the Purchaser of all of the outstanding securities of the Member, which is the Parent’s
direct wholly-owned subsidiary; however, the Purchaser opted instead to require agreements with
the Member and the Company for the purchase of their respective assets;

       WHEREAS with respect to the Company, the Purchaser further required that the purchase
occur through a sale under section 363 of the United States Bankruptcy Code, 11 U.S.C. §§ 101–
1532 (the “Bankruptcy Code”), in the context of a case under chapter 11 of the Bankruptcy Code;

       WHEREAS the Member has reviewed and considered the financial and operational
condition of the Company and the Company’s business on the date hereof, including the historical
performance of the Company, the assets of the Company, the current and long-term liabilities of
the Company, the market for the Company’s assets, and credit market conditions; and



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        WHEREAS the Member has received, reviewed, and considered the recommendations of
the management of the Company and the Company’s legal, financial, and other advisors as to the
relative risks and benefits of pursuing a bankruptcy proceeding under the provisions of chapter 11
of the Bankruptcy Code.

       NOW, THEREFORE, IT IS:

Pre-Petition Bridge Financing

       RESOLVED, that the Authorized Officers (as defined below) of the Company be, and
each of them, acting alone or in any combination, hereby is, authorized, directed, and empowered,
on behalf of and in the name of the Company, to obtain pre-petition bridge financing according to
terms negotiated, or to be negotiated, by the management of the Company; and to enter into any
guarantees and to pledge and grant liens on its assets as may be contemplated by or required under
the terms of such post-petition financing or cash collateral agreements; and in connection
therewith, the Authorized Officers be, and each of them, acting alone or in any combination,
hereby is authorized, directed, and empowered to execute appropriate loan agreements, security
agreements, promissory notes, and related ancillary documents; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to secure the payment and performance of any pre-petition bridge financing by
(i) pledging or granting liens or mortgages on, or security interests in, all or any portion of the
Company’s assets, whether now owned or hereafter acquired, and (ii) entering into such credit
agreements, guarantees, other debt instruments, security agreements, pledge agreements, control
agreements, inter-creditor agreements, mortgages, deeds of trust, and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate, or desirable by the Authorized
Officer executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval or determination; and it is further

Commencement and Prosecution of Chapter 11 Case

        RESOLVED, that, in the judgment of the Member, it is desirable and in the best interests
of the Company, its creditors, stockholders, and other interested parties, that a voluntary petition
(the “Petition”) be filed by the Company in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) commencing a case (the “Chapter 11 Case”) under the
provisions of chapter 11 of the Bankruptcy Code; and it is further

        RESOLVED, that the Authorized Officers (as defined below) of the Company be, and
each of them, acting alone or in any combination, hereby is, authorized, directed, and empowered,
in the name of and on behalf of the Company, to execute, acknowledge, deliver, and verify the
Petition and to cause the same to be filed with the Bankruptcy Court at such time as such
Authorized Officer may determine; and it is further

      RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered in the name of and on behalf of the


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Company, to execute, acknowledge, deliver, and verify and file any and all schedules, statements
of affairs, lists, and other papers and to take any and all related actions that such Authorized
Officers may deem necessary or proper in connection with the filing of the Petition and
commencement of the Chapter 11 Case; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, from time to time in the name and
on behalf of the Company, to perform the obligations of the Company under the Bankruptcy Code,
with all such actions to be performed in such manner, and all such certificates, instruments,
guaranties, notices, and documents to be executed and delivered in such form, as any Authorized
Officer performing or executing the same shall approve, and the performance or execution thereof
by such Authorized Officer shall be conclusive evidence of the approval thereof by such
Authorized Officer and by the Company; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered from time to time in the name and
on behalf of the Company, to cause the Company to enter into, execute, deliver, certify, file, record,
and perform such agreements, instruments, motions, affidavits, applications for approvals or
rulings of governmental or regulatory authorities, certificates or other documents, to pay all
expenses, including filing fees, and to take such other actions, as in the judgment of such
Authorized Officers, shall be necessary, proper, and desirable to prosecute to a successful
completion the Chapter 11 Case and to effectuate the restructuring or liquidation of the Company’s
debt, other obligations, organizational form and structure, and ownership of the Company, all
consistent with the foregoing resolutions and to carry out and put into effect the purposes of these
resolutions, and the transactions contemplated by these resolutions, their authority thereunto to be
evidenced by the taking of such actions; and it is further

Retention of Professionals

        RESOLVED, that the law firm of Faegre Drinker Biddle & Reath LLP (“Faegre
Drinker”) be, and hereby is, authorized, directed, and empowered to represent the Company as
corporate, finance, restructuring, and bankruptcy counsel to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Chapter 11 Case; and
in connection therewith, the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to the filing
of the Chapter 11 Case, and to cause to be filed an appropriate application for authority to retain
the services of Faegre Drinker; and it is further

       RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company to employ any other individual and/or firm as professionals, consultants, financial
advisors, or investment bankers to the Company as are deemed necessary to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and in connection therewith,
the Authorized Officers be, and each of them, acting alone or in any combination, hereby is,
authorized, directed, and empowered, on behalf of and in the name of the Company to execute


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appropriate retention agreements, pay appropriate retainers prior to the filing of the Chapter 11
Case, and to cause to be filed an appropriate application for authority to retain the services of such
firms; and it is further

Sale

       RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to enter into that certain Asset Purchase Agreement dated as of March 31, 2025 (the
“Asset Purchase Agreement”), between the Company, as vendor, and Capillary Technologies
LLC (an affiliate of the Purchaser), as purchaser, and to take any and all actions in furtherance of
consummating the transactions contemplated by the Asset Purchase Agreement as they may deem
necessary or appropriate; and it is further

Post-Petition Financing

         RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to obtain post-petition financing according to terms negotiated, or to be negotiated, by
the management of the Company, including under debtor-in-possession credit facilities or relating
to the use of cash collateral, if any; and to enter into any guarantees and to pledge and grant liens
on its assets as may be contemplated by or required under the terms of such post-petition financing
or cash collateral agreements; and in connection therewith, the Authorized Officers be, and each
of them, acting alone or in any combination, hereby is authorized, directed, and empowered to
execute appropriate loan agreements, cash collateral agreements, and related ancillary documents;
and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to secure the payment and performance of any post-petition financing by (i) pledging
or granting liens or mortgages on, or security interests in, all or any portion of the Company’s
assets, whether now owned or hereafter acquired, and (ii) entering into such credit agreements,
guarantees, other debt instruments, security agreements, pledge agreements, control agreements,
inter-creditor agreements, mortgages, deeds of trust, and other agreements as are necessary,
appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated or implied
by, this resolution in such form, covering such collateral and having such other terms and
conditions as are approved or deemed necessary, appropriate, or desirable by the Authorized
Officer executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval or determination; and it is further

General Resolutions

        RESOLVED, that the Member hereby adopts any resolution required under the applicable
securities laws of any jurisdiction to be adopted in connection with any of the transactions
contemplated hereby, if (i) in the opinion of any Authorized Officer, the adoption of such
resolution is necessary or advisable, and (ii) the secretary of the Company evidences such adoption
by inserting into the minute book of the Company a copy of such resolution which will thereupon



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be deemed to have been adopted by the Member with the same force and effect as if specifically
presented to and executed by the Member; and it is further

         RESOLVED, that the Company’s Chief Executive Officer and General Counsel (the
“Authorized Officers”) are hereby each severally authorized in the name of and on behalf of the
Company to perform any and all acts as may be necessary or desirable to execute, file and deliver
all instruments and other documents contemplated by the foregoing resolutions and to take any
and all further action that such person or persons may deem necessary or desirable to effectuate
any action authorized by these resolutions and otherwise to carry out the purposes and intentions
of the foregoing resolutions; and the execution by any such person or persons of any such
documents or the performance by any such person or persons of any such act in connection with
the foregoing matters shall conclusively establish his or her authority therefor from the Company
and the approval and ratification by the Company of the documents so executed and the actions so
taken; and it is further

       RESOLVED, that any and all actions heretofore taken by any Authorized Officer in
connection with the transactions and other matters contemplated by the foregoing resolutions are
hereby ratified, approved, confirmed and accepted in all respects; and it is further

        RESOLVED, that these resolutions may be executed by facsimile, email, or other
electronic means, and when so executed and delivered shall be deemed to be an original.

                                   [Signature page follows.]




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        IN WITNESS WHEREOF, the undersigned has signed this instrument as of the date first
set out above.

                                          LOYALTY SOLUTIONS HOLDINGS US INC.,
                                          the sole member



                                          By: _/s/ Tim Sullivan________________________
                                                  Authorized signatory

                                          Name: Tim Sullivan




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    Kognitiv US LLC,                                      Case No. 25-_____ (___)

                     Debtor.1


                   COMBINED CORPORATE OWNERSHIP STATEMENT AND
                   LIST OF EQUITY SECURITIES HOLDERS PURSUANT TO
                           FED. R. BANKR. P. 1007(a)(1), 1007(a)(3)

             Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Kognitiv US LLC (the “Debtor”) certifies that the following corporate entity (i) directly

or indirectly owns 10% or more of the Debtor and (ii) directly or indirectly holds 100% of the

equity interests of the Debtor:


                    Name and Address                            Ownership & Interest
                    Loyalty Solutions Holdings US Inc. 100% Direct Ownership
                    121 Washington Ave. N              100% of Equity Interest
                    4th Floor
                    Minneapolis, MN 55401




1
        The last four digits of the Debtor’s federal tax identification number are 4765. The Debtor’s mailing address
is 121 Washington Ave. N, 4th Floor, Minneapolis, Minnesota 55401.

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Fill in this information to identify the case:
Debtor name Kognitiv US LLC
United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                            Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
KPMG LLP                                            Professional                                                                                                $31,236.06
PO Box 4348               kpmg-ar@kpmg.ca           Services
Station A Toronto,
ON
M5W 7A6 Canada
Carry Technologies                                  Software Licenses                                                                                           $15,000.00
dba Hightouch             accounting@hight
2261 Market Street        ouch.io
#5225                     1-402-649-0812
San Francisco, CA
94114
Thomson Reuters                                     Professional                                                                                                $11,425.84
West                      CSM-WC@thomso             Services
610 Opperman Drive        nreuters.com
Eagan, MN
55123-1396
Emarketer Inc.                             Professional                                                                                                           $8,100.00
One Liberty Plaza,        accounting@emark Services
9th Floor                 eter.com
New York, NY 10006
Husch Blackwell                            Professional                                                                                                           $8,060.50
PO Box 802765             ARInfo@huschblac Services
Kansas City, MO           kwell.com
64180
Figg, Incorporated                                  IT Services                                                                                                   $5,452.50
2561 Territorial          rmcdonald@gofigg
Road                      .com
Saint Paul, MN
55114
CT Corporation                                      Professional Fees                                                                                             $2,363.65
System                    ctlegalnotice@wolt
PO Box 4349               erskluwer.com
Carol Stream, IL
60197
Privacy Toll Free                                   Professional                                                                                                    $332.67
2093 Philadelphia         mailto:contact@cc         Services
Pike #4678                patollfree.com
Claymont, DE 19703

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Kognitiv US LLC                                                                          Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Advanced Records                                    Professional                                                                                                      $50.00
Management                                          Services
13700 Water Tower
Circle
Plymouth, MN 55441




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                              Case 25-10648-BLS                   Doc 1        Filed 04/02/25           Page 14 of 14




Fill in this information to identify the case:

Debtor name         Kognitiv US LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 2, 2025                   X /s/ Tim Sullivan
                                                           Signature of individual signing on behalf of debtor

                                                            Tim Sullivan
                                                            Printed name

                                                            Authorized Signatory
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
